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         EXHIBIT 12
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                       From: SDM Exec Updates <                                             >
                     Subject: Thursday Update - Q1 Week 4
                Received(Date): Thu, 25 Oct 2018 16:31:43 -0700
                          To: Tim Cook <                      >, Jeff Williams
                                <                     >,Donal Conroy <                             >, Luca
                                Maestri <                    >,Saori Casey <                   >, Kevan
                                Parekh <                     >,Sabih Khan <                   >, Rory
                                Sexton <                    >,Tony Blevins <                      >, Daniel
                                Rosckes <                      >,Nick Forlenza <                       >,
                                Rob York <                  >,Brendan Lawry <                      >, Priya
                                Balasubramaniam <                      >,Mike Fisher
                                <                        >, Donny McFadyen
                                <                       >,"Anish (WW SDM) Patel" <                        >,
                                Rob McDowell <                           >,Karen Starkweather
                                <                          >, Thomas Paine <                     >,Anuj
                                Saigal <                  >,Mike Montgomery
                                <                                  >,Mike Lee <                           >,
                                Angela Chan <                           >,Janice Lin
                                <                     >, Matthew Costello <                          >
                 Attachment: PastedGraphic-3.png
                 Attachment: PastedGraphic-1.png
                 Attachment: PastedGraphic-5.pdf
                 Attachment: Q12019 Supply Demand Summary Oct Wk4 FINAL.pdf
                 Attachment: FY19 Oct Consolidated Launch Summary Oct Wk4 v2.pdf
                        Date: Thu, 25 Oct 2018 16:31:43 -0700

               Tim, Jeff,

               Please see Thursday update below including Q1 projections and product updates.

               Sell in changes compared to last week are: iPhone -1.1M, iPad +217k, and Watch -38k.

               Regards,
               Thomas

               Q1 Projections:

               - iPhone: Proj. SI is 75.5M, -2% y/y, UB 70.2M, -2% y/y and ST 71.8M -2% y/y. SI
               decreased by 1.1M driven by D3X demand (-1.6M), partially offset by stronger
               sustaining demand (0.5M). UB decreased -0.5M (-0.9M D3X, +0.4M Sustaining)

               - iPad: Proj. SI is 14.5M, 10% y/y and ST is 14.4M, 10% y/y. SI increased 217k driven
               by deals and improved Mini4 supply. ST increased 77k, mainly driven by deals.




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               - Mac: Proj. SI is 5.6M, 9% y/y, and ST is 5.5M, 8% y/y. SI/ST unchanged.

               - Watch: Proj SI is 8.7M, 26% y/y, and ST is 8.7M, 30% y/y. SI decreased by -38k and
               ST by -32k driven by lower S4 supply, partially offset by increased DG on S3.

               - iPod: Proj. SI is 0.6M, -31% y/y, and ST is 0.7M, -35% y/y.

               - Apple TV: Proj. SI is 1.5M, -14% y/y, and ST is 1.4M, -7% y/y.

               - Beats: Proj SI Plan is 5.3M, -13% y/y and ST is 5.3M, -11% y/y.

               - Accessories: Proj. SI is 49.4M, 23% y/y, and ST is 49.5M, 23% y/y.
                   - Airpods: Proj. SI is 9.3M and ST is 9.8M.
                   - HomePod: Proj. SI is 115k, and ST is 181k.

               iPhone XR:
               - Projecting 3M landed for Friday launch; AOS of 0.2M, Retail of 0.6M, and Reseller of
               2.2M.
               - Total Direct demand is 217k. AOS bookings of 181k are -76% LoL vs. iPhone 8/8+ (-
               60% LoL ex. GC). Retail bookings of 36k are -76% LoL vs. iPhone 8/8+ (-37% LoL ex.
               GC).
               - AOS NAND bookings mix remains at 32/55/12 (64/128/256GB) versus all channel
               quarter plan at 40/50/10.
               - Retail projecting to start Friday with 100% SL across all Geos with the exception of
               AMR (98-99%) due to quality hold. Projecting to maintain 90-100% SL through launch
               weekend.
               - Resellers’ end consumer pre-orders across 32 partners are 343k, -74% vs 8/8+ LoL.
               These partners represent ~54% of D2X Q1'18 UB. - Current Q1 Reseller iPhone XR
               mBS is 22.1M, in addition to 21.7M for D3X.
               - iPhone XR direct color mix:

               iPhone Xs and Xs Max:
               - LTD UB is 11.5M (+1% vs iPhone X, flat vs iPhone 8/8+). No significant change to
               program and NAND mix at 41/59 and 40/54/6.
               - D3x UB projection for the week is 1.5M.
               - Quotes and Service Levels are at Goal.
               - iPhone Xs is unconstrained at POS and Xs Max is unconstrained, with the exception of
               Australia where ex-factory recovery ships this week.

               iPad Pro:
               - Projected Landed at Launch on 11/7 is 468k, or ~2 WOS (92k AOS, 124k Retail, 252k
               Reseller). Projecting ~2-3 WOS ex-factory through Nov, and ~4-5 WOS through
               December.
               - SW dropped on 10/20, pack out began 10/23. Ok2ship approved subject to TA on
               10/26.
               - AOS quotes will begin with ’ships by 11/6'.
               - Retail will start at 100% on 11/7 and expected to drop to 40-60% SL within the first




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               week.

               MacBook Air 13” J140:
               - Ok2ship approved on 10/25.
               - Projected landed at launch 457k, ~4 WOS.
               - AOS quotes will begin with ‘ships by 11/6’.
               - Retail will start at 100% on 11/7.

               Mac Mini J174:
               - Projected landed at launch 93k, ~6.5 WOS.
               - AOS quotes will begin with ‘ships by 11/6’.
               - Retail will start at 100% on 11/7.

               Watch Series 4:
               - LTD performance is 1701k (19% y/y vs Series 3 is highly constrained). Cellular mix is
               53%, unchanged.
               - AOS net bookings are 544k, 34% y/y. Quotes are 'ships 2-3 wks' in most countries,
               working to reduce 5 remaining countries by end of October.
               - Retail UB are 553k, 23% y/y. SL% are 47%, (57% LTE, 38% GPS).
               - Reseller UB are 583k, 3% y/y. Resellers are constrained, with wk2 velocity of 38%
               and strong across all Regions.

               Mac Supply Update (J130A, J132, J113B):
               - MBAir 13” (J113B) and MBPro 13” w/TB (J132) constrained through Q1 (J132 WOS
               chart below).
               - MBAir 13” (J113B) supply is constraining DG activities, primarily in EMEIA.

               HomePod:
               - Launching Spain and Mexico on Friday 10/26.
               - Supply is unconstrained. Direct launches at goal and all 13k Reseller launch requests
               have shipped.




               Tim, Jeff,



               Please see Thursday update below including Q1 projections and product updates.

               Sell in changes compared to last week are: iPhone -1.1M, iPad +217k, and Watch -38k.

               Regards,

               Thomas




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               Q1 Projections:

               - iPhone: Proj. SI is 75.5M, -2% y/y, UB 70.2M, -2% y/y and ST 71.8M -2% y/y. SI
               decreased by 1.1M driven by D3X demand (-1.6M), partially offset by
               stronger sustaining demand (0.5M). UB decreased -0.5M (-0.9M D3X, +0.4M
               Sustaining)

               - iPad: Proj. SI is 14.5M, 10% y/y and ST is 14.4M, 10% y/y. SI increased 217k driven
               by deals and improved Mini4 supply. ST increased 77k, mainly driven by deals.

               - Mac: Proj. SI is 5.6M, 9% y/y, and ST is 5.5M, 8% y/y. SI/ST unchanged.

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               ST by -32k driven by lower S4 supply, partially offset by increased DG on S3.

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               60% LoL ex. GC). Retail bookings of 36k are -76% LoL vs. iPhone 8/8+ (-37% LoL ex.
               GC).

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               quarter plan at 40/50/10.

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               AMR (98-99%) due to quality hold. Projecting to maintain 90-100% SL through launch
               weekend.

               - Resellers’ end consumer pre-orders across 32 partners are 343k, -74% vs 8/8+ LoL.
               These partners represent ~54% of D2X Q1'18 UB.

               - Current Q1 Reseller iPhone XR mBS is 22.1M, in addition to 21.7M for D3X.




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               - iPhone XR direct color mix:



               iPhone Xs and Xs Max:

               - LTD UB is 11.5M (+1% vs iPhone X, flat vs iPhone 8/8+). No significant change to
               program and NAND mix at 41/59 and 40/54/6.

               - D3x UB projection for the week is 1.5M.

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               - Ok2ship approved on 10/25.

               - Projected landed at launch 457k, ~4 WOS.

               - AOS quotes will begin with ‘ships by 11/6’.

               - Retail will start at 100% on 11/7.

               Mac Mini J174:

               - Projected landed at launch 93k, ~6.5 WOS.

               - AOS quotes will begin with ‘ships by 11/6’.




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               - Retail will start at 100% on 11/7.

               Watch Series 4:

               - LTD performance is 1701k (19% y/y vs Series 3 is highly constrained). Cellular mix is
               53%, unchanged.

               - AOS net bookings are 544k, 34% y/y. Quotes are 'ships 2-3 wks' in most countries,
               working to reduce 5 remaining countries by end of October.

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               chart below).

               - MBAir 13” (J113B) supply is constraining DG activities, primarily in EMEIA.



               HomePod:

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               have shipped.




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